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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10   THERESA SWEET, et al.,
                                  11                  Plaintiffs,                           No. C 19-03674 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   MIGUEL CARDONA, et al.,                              NOTICE RE ORAL ARGUMENT
                                  14                  Defendants.

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                                  17        All counsel shall come to the hearing today prepared to answer with precision the

                                  18   following questions.

                                  19            1. Under the relevant statutes and regulations, prior to the proposed settlement, if a

                                  20                borrower-defense application were granted for loans that had been sold by the

                                  21                government to a third party (see, e.g., 20 U.S.C. § 1087i), how would the third-

                                  22                party purchaser of the loan recover on its investment?

                                  23            2. Under the relevant statutes and regulations, prior to the proposed settlement, if the

                                  24                borrower-defense application were granted for a loan held by a private lender, how

                                  25                would the private lender recover on the loan?

                                  26            3. Under the proposed settlement, for a loan previously sold by the government to a

                                  27                third party, how will the third-party purchaser of the loan recover on its

                                  28                investment?
                                   1           4. Under the proposed settlement, for a loan held by a private lender, how will the

                                   2               private lender recover on the loan?

                                   3           5. Will action on future loan applications be influenced in any way by the presence of

                                   4               the school on Exhibit C of the proposed settlement? Put differently, to what extent

                                   5               will students attending the schools on Exhibit C be turned down for future loans?

                                   6           6. What is the statutory authority that allows the Department to use federal funds to

                                   7               forgive $6 billion in student loans without going through the borrower-defense

                                   8               process?

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                                  10   Dated: August 4, 2022.

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                                  12
Northern District of California
 United States District Court




                                                                                            WILLIAM ALSUP
                                  13                                                        UNITED STATES DISTRICT JUDGE
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